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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

NICOLE L. HANTZ,                   )
f/k/a NICOLE OLDHAM,               )
                                   )
      Plaintiff,                   )
                                   )
      v.                           )     C.A. No. 21-801-RGA
                                   )
DIVISION OF STATE POLICE,          )
DEPARTMENT OF SAFETY &             )
HOMELAND SECURITY,                 )
STATE OF DELAWARE,                 )
                                   )
              Defendant.           )

       DEFENDANT’S REPLY MEMORANDA OF POINTS AND AUTHORITIES IN
               SUPPORT OF THEIR MOTION TO DISMISS




                                       STATE OF DELAWARE
                                       DEPARTMENT OF JUSTICE

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DATE: September 20, 2021
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                                           ARGUMENT

       A. The continuing violation doctrine does not apply, and therefore any claims are
          barred to the extent they rely on events that occurred before December 27, 2017.

       Hantz argues, under the continuing violation doctrine, that events occurring before

December 27, 2017 may be considered for her hostile work environment claim, Count I. The

continuing violation doctrine does not apply in this case. In the employment discrimination

context, the Supreme Court has differentiated between discrete acts, which are individually

actionable, and non-discrete acts which are not individually actionable but may aggregate to form

a hostile work environment claim. Nat'l R.R. Passenger Corp. v. Morgan, 536 U.S. 101, 110-115

(2002). Discrete acts “must be raised within the applicable limitations period or they will not

support a lawsuit.” O'Connor v. City of Newark, 440 F.3d 125, 127 (3d Cir. 2006) (citing Morgan,

536 U.S. at 113). “[D]iscrete discriminatory acts are not actionable if time barred, even when they

are related to acts alleged in timely filed charges.” Morgan, 536 U.S. at 113. Importantly, the Third

Circuit has held, under Morgan, that discrete acts “cannot be aggregated under a continuing

violations theory.” O'Connor, 440 F.3d at 127. Indeed, “the continuing violation doctrine cannot

be applied to conduct that is independently actionable, which is defined as a discrete act.” Onuffer

v. Walker, 2014 WL 3408563, at *6 (E.D. Pa. July 14, 2014) (citation and internal quotations

omitted). Discrete acts include “termination, failure to promote, denial of transfer, refusal to hire,

wrongful suspension, wrongful discipline, denial of training, wrongful accusation.” O'Connor, 440

F.3d at 127. Discrete acts also include claims of sexual harassment. Hare v. Potter, 220 F. App'x

120, 133-134 (3d Cir. 2007). Denial of benefits are also discrete acts. Kant v. Seton Hall Univ.,

2008 WL 65159, at *19 (D.N.J. Jan. 4, 2008), aff'd, 289 F. App'x 564 (3d Cir. 2008); Bernstein v.

City of Atl. City, 2011 WL 2559369, at *5 (D.N.J. June 27, 2011).




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          In the instant case, Hantz may not rely on the continuing violation doctrine to incorporate

events that occurred before December 27, 2017 because many of those are discrete acts. Hantz

provides fifteen enumerated acts that occurred before December 27, 2017 that she alleges are non-

discrete. D.I. 9 at 3-4.1 Acts no. 4, 7, and 12 all concern sexual harassment or assault, which are

discrete acts and therefore cannot be considered. Further, acts no. 9, 13, and 14 are discrete acts

because they involve wrongful accusations. Act no. 5 is also a discrete act is it involves a denial

of benefits. Given that nearly half of the incidents which occurred before December 27, 2017 are

discrete acts, they cannot be part of a continuing violation.

          While some of the pre-December 27, 2017 acts are not discrete acts, Hantz still cannot

establish a continuing violation. “A continuing violation, however, cannot be established where

there is an interruption that destroys the pattern of harassment.” Robinson v. Home Depot, Inc.,

2009 WL 2960990, at *13 (D.N.J. Sept. 11, 2009) (citation omitted); see also, Konstantopoulos v.

Westvaco Corp., 112 F.3d 710, 716 (3d Cir. 1997) (finding that a seven-month period between

discriminatory acts interrupted any pattern of discrimination and therefore a continuing violation

could not be established); Fala v. Perrier Grp. of Am., No. CIV. A. 99-CV-3319, 2000 WL

688175, at *12 (E.D. Pa. May 25, 2000) (holding that a ten-month period between wrongful acts

“alone is sufficient to destroy the continuity” for a continuing violation); Coombs v. Target Corp.,

2013 WL 664186, at *4 (E.D. Pa. Feb. 25, 2013) (holding that “nearly a two-year break between

allegations of discrimination … destroys the pattern of harassment and does not establish

a continuing violation”).

          In the instant case, Hantz cannot demonstrate a continuing violation because the conduct

that occurred before December 27, 2017, which ranges from 2002 to 2017, contains temporal



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interruptions that break the continuing violation chain. Even considering the facts not alleged in

the Charge but only alleged in the Complaint, Hantz cannot demonstrate a continuing violation.

For example, there is a year and a half period, from July 2011 to January 2013, where Hantz does

not allege any wrongful acts. D.I. 9 at 3-4. Hantz also complains of four incidents of harassment

over a nine-year period, from 2002 to 2011, D.I. 9 at 3, which averages to approximately 1 incident

every two years. Hantz fails to provide any clarification on when those incidents occurred within

a time span of nearly a decade. Ultimately, Hantz cannot establish a continuing violation because

the alleged conduct occurring before December 27, 2017 were discrete acts which cannot be

considered for a continuing violation. Those acts which were not discrete occurred too far apart

from each other to demonstrate a continuing violation.

       B. Hantz’s termination claims were not fully exhausted.

       Hantz argues, relying on Waiter v. Parsons, 729 F.2d 233 (3d Cir. 1984) that she may

proceed with her termination claims (Counts III and V) even though her termination occurred after

she filed her Charge. Hantz’s argument fails as Waiter is distinguishable from the instant case. In

Waiter, the court held that discriminatory actions that occurred after filing a charge may be part of

a lawsuit if the acts are fairly within the scope of the charge, or “the investigation arising

therefrom.” Id. at 237. The court then allowed plaintiff to bring a wrongful termination claim even

though the termination occurred after she filed the charge because the subsequent “investigation

clearly went beyond the specific problem alleged in the formal complaint.” Id. at 238. The

investigation found support for plaintiff’s allegations. Id. at 235.

       In this case, Hantz’s termination claims were not fully exhausted because they were not

contained in the Charge and there was no subsequent investigation to broaden the scope of Hantz’s

complaints. Unlike in Waiter, where the EEOC’s investigation broadened the scope of plaintiff’s



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claim as it found, the EEOC in this case did not proceed further with its investigation and did not

make any determinations. See Dismissal and Notice of Rights, March 2, 2021, attached as Exhibit

A. Because the termination claim was not contained in Hantz’s Charge, and no subsequent

investigation encompassed termination, Hantz’s termination claims are barred.

        This matter is more akin to Daniels v. (DHSS) Delaware Psychiatric Ctr., 2018 WL

4473346 (D. Del. Sept. 18, 2018). In Daniels, plaintiff filed a charge of discrimination on January

6, 2014. Id. at *1. Plaintiff subsequently filed her complaint with the Court on December 15, 2014.

Id. at *2. While Plaintiff’s complaint contained the allegations in the charge, it contained additional

allegations not contained in the charge. Id. Specifically, the complaint alleged a December 12,

2014 incident of discrimination. Id. The Court dismissed any claims related to the December 12,

2014 incident because plaintiff failed to exhaust her administrative remedies for that incident. Id.

at *3. “Given the timeline, it is impossible for Plaintiff to have raised the December 12, 2014

incident in the January 6, 2014 charge of discrimination that was filed some eleven months earlier.

Because the claim was not brought to the attention of the EEOC, it did not fall within the scope of

its investigation.” Id.

        Like in Daniels, Hantz’s Charge could have not contained the termination claim because it

occurred after she filed the Charge. Because it was impossible for Hantz to raise the termination

claim in her Charge, it was not brought to the attention of the EEOC, and thus Hantz failed to

exhaust her administrative remedies for her terminations claims. Therefore, Counts III and V

should be dismissed.




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       C. Hantz cannot rely on the incidents not contained in the Charge for her HWE
          claim.

       Hantz cannot rely on the distinct incidents of conduct not contained in the Charge. Hantz

attempts to argue that the discrete incidents not contained in the Charge 2 may be a part of her HWE

claim because they are also a part of a sexual discrimination claim. Such an argument fails. D.I. 9

at 10-11.

       Initially, because Hantz only seeks to incorporate those incidents in her HWE claim, Hantz

cannot use those incidents for any other claim. Further, as discussed, supra, Hantz cannot maintain

a HWE claim for any incidents that occurred before December 27, 2017. The incidents at issue all

occurred before that date (see D.I. 9 at 3, ¶ A3, 7, and 11). Because Hantz cannot maintain a

continuing violation, all incidents before December 27, 2017 may not be considered because they

are time barred.

       Even if the incidents were not time barred, the incidents still cannot be considered. As the

Court held in Daniels, incidents not contained in the Charge cannot be considered. 2018 WL

4473346 at *3. Notably, the missing incident in Daniels concerned the same issue as in the original

charge: racial discrimination. Id. at *1. Therefore, like in Daniels, Hantz cannot incorporate

incidents not contained in her Charge.

       D. Hantz’s Charge fails to state what protected activity she engaged in to maintain
          Count IV.

       Hantz argues that section B of her Charge properly identified the protected activity she

engaged in to maintain her retaliation claim contained in Count IV. D.I. 9 at 15. However, section

B does not address Hantz’s alleged retaliation. Rather, it describes her allegations on sexual



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 The incidents being 1) having to give more death notifications while in the Fatal Unit, 2) Corporal
Rossi’s harassment during a business trip sometime between January 2013 and November 2016,
and 3) Lieutenant McColgan’s email harassment while Hantz was at Troop 4.
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discrimination. A full reading of the Charge fails to connect how her complaints of understaffing

lead to her transfer. Finally, Hantz alleges that she worked at Troop 4 from November 2016 to

February 2018. She fails to mention when she reported the understaffing issue. “The scope of an

EEOC investigation cannot reasonably be expected to encompass retaliation when [plaintiff] failed

to put the agency on notice that she had engaged in the type of protected activity that is the

predicate to a retaliation claim.” Dellaporte v. City Univ. of New York, 998 F. Supp. 2d 214, 232

(S.D.N.Y. 2014) (citation omitted) (alteration in original). “The scope of an EEOC investigation

cannot reasonably be expected to encompass retaliation when [plaintiff] failed to put the agency

on notice that she had engaged in the type of protected activity that is the predicate to a retaliation

claim.” O'Hara v. Mem'l Sloan-Kettering Cancer Ctr., 27 F. App'x 69, 70–71 (2d Cir. 2001)

(citation omitted). Because the Charge fails to identify her protected activity, Count IV has not

been exhausted, and should be dismissed.

       E. Hantz’s FAC fails to allege a prima facie case of retaliation for Count IV.

       Hantz argues that she does not need to show that the transfer did not alter her compensation,

privileges, status or opportunities to show adverse action. D.I. 9 at 16. Rather, Hantz argues that

she need only show that the conduct would have dissuaded a reasonable worker from filing a

charge of discrimination, relying on Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53

(2006). D.I. 9 at 16. Assuming that to be the case, Hantz argument still fails.

       Hantz alleged that the transfer to Troop 5 was adverse because it was the furthest from her

home. However, as demonstrated in DSP’s opening brief, the transfer from Troop 4 to Troop 5

only increased her commute by 3 miles, or 4 minutes. “[T]ransferring a state trooper from one

station to another and making his daily commute four and a half miles longer would not have

dissuaded a reasonable worker from making or from supporting a charge of discrimination because



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the trooper failed to show that the transfer was more than a trivial inconvenience.” Remp v. Alcon

Lab'ys, Inc., 701 F. App'x 103, 108 (3d Cir. 2017) (citing Estate of Oliva ex rel. McHugh v. New

Jersey, 604 F.3d 788, 799 (3d Cir. 2010) (interpreting Burlington N. & Santa Fe Ry. Co. v. White,

548 U.S. 53 (2006)). Therefore, the transfer from Troop 4 to Troop 5 was not an adverse action.

       Hantz also argues that the transfer was adverse because her brother passed away in Troop

5’s jurisdiction. However, there is no evidence or allegations that Captain Layfield, who initiated

the transfer, was even aware that Hantz’s brother passed away in Troop 5 jurisdiction. “[F]or

protected conduct to be a substantial or motiving factor in a decision, the decisionmakers must be

aware of the protected conduct.” Ambrose v. Twp. of Robinson, Pa., 303 F.3d 488, 493 (3d Cir.

2002). DSP submits that the same principles apply to when a decisionmaker initiates action that is

allegedly adverse. If the decisonmaker is unaware of a circumstance that makes an action adverse,

then the action cannot be adverse. Here, because Captain Layfield was not aware that Hantz’s

brother passed away in Troop 5’s jurisdiction, that cannot be the basis of the transfer being adverse.

       Because Hantz cannot show any adverse action, she also cannot demonstrate any causal

connection. As a result, Hantz fails to allege a prima facie case of retaliation in relation to her

transfer from Troop 4 to Troop 5.

       F. The FAC fails to allege a prima facie case of retaliation in relation to Hantz’s
          termination for Count V.

       Hantz alleges that the protected activity for this Count is recited in her answering brief at

Part II.D. of the statement of facts, as well as her filing of the Charge on October 27, 2018. Hantz

claims that, because she engaged in those activities, Colonel McQueen informed her of her

termination on October 31, 2018. Initially, none of the facts recited in Part II.D. involve Colonel

McQueen or that he was aware of those facts. Therefore, those facts cannot be used as a basis for

causal connection. Further, there is no evidence Colonel McQueen was aware of the Charge. See

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Sanchez v. SunGard Availability Servs. LP, 362 F. App'x 283, 288 (3d Cir. 2010) (“[B]ecause the

individuals who were responsible for deciding to discharge [plaintiff] were unaware of his

complaints of discrimination, [plaintiff] has failed to establish a causal connection between his

termination and his alleged reporting the discrimination.”). As a result, Hantz’s FAC fails to allege

a prima facie case for Count V.

       G. Hantz did not suffer any adverse action to maintain her discrimination claim in
          Count II.

       For a discrimination claim, “[a]n unfulfilled threat, which results in no material harm, is

not materially adverse.” Ajayi v. Aramark Bus. Servs., Inc., 336 F.3d 520, 531 (7th Cir. 2003). In

Ajayi, plaintiff claimed she was demoted as a result of racial discrimination. Id. On February 9,

2000, she received notice “that her position was being eliminated and that she would be demoted

two weeks later.” Id. However, “the threatened demotion never actually happened.” Id. The court

found that because plaintiff was not actually demoted, she did not suffer an adverse action to bring

a discrimination claim. Id. In the instant case, because Hantz was never actually transferred, she

did not suffer any adverse action in the context of a discrimination claim. Therefore, Count II

should be dismissed.

                                         CONCLUSION

       For the reasons stated above, DSP’s Motion to Dismiss should be granted, and Hantz’s

FAC should be dismissed with prejudice.

                                                      STATE OF DELAWARE
                                                      DEPARTMENT OF JUSTICE

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